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IN 'I'HE UNITED STATES DISTRICT COURT fl"|'l..'§l} BY

 

FOR THE wEsTERN DISTRICT oF TENNESSEE o'c'
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UNITED sTATES oF AMERICA, W'T€!" -‘.";`~`r"=.-¥DH£S

Plaintiff,

vs. Cv. No. 04-2854-Ma/P“’
Cr. NO. 02-20126-G

ROWLO SMITH,

Defendant.

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ORDER DENYING MO'I'ION PURSUAN'I` TO 28 U.S.C. § 2255
ORDER DENYING CERTIFICATE OF APPEALABILI'I'Y
AND
ORDER CER'I'IFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Defendant Rowlo Smith, Bureau of Prisons inmate registration
number 18318-076, an inmate at the United States Penitentiary-Lee
County in Jonesville, Virginia, filed a pro §§ motion pursuant to 28
U.S.C. § 2255 on October 25, 2004, accompanied by a legal memorandum.
On March 10, 2005, Smith filed a motion asking for the status of his
motion.

On April 16, 2002, a federal grand jury returned a single-
count indictment charging Smith with being a felon in possession of
a firearm, in violation of 18 U.S.C. § 922(g). A jury trial was held
on Septemher 3, 2002, at the conclusion of which the jury returned a
guilty verdict. Former District Judge Julia Smith Gibbons conducted
a sentencing hearing on January 3, 2003, at which time Smith was

sentenced to one hundred twenty (120) months’ imprisonment, to be

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followed by a three-year period of supervised release.1 Judgment was
entered on January 21, 2003. The United States Court of Appeals for
the Sixth Circuit affirmed. United States v. Smith, 79 Fed. Appx. 97
(6th cir. oct. 21, 2003).

Smith has now filed a § 2255 motion in which he asserts that
his sentence was imposed in violation of Anprendi v. New Jersev, 530
U.S. 466 (2000), and Blakelv v. Washinqton, 124 S. Ct. 2531 (2004).
In his original motion, Smith also suggested that this motion be held
in abeyance pending the Supreme Court's decision in United States v.
BOOker, 125 S. Ct. 758 (2005).

Smith is not entitled to relief on the basis of Blakely and
Booker, which were issued after the conclusion of direct review in
this case. “As a general rule, new constitutional decisions are not
applied retroactively to cases that Were finalized prior to a new
Supreme Court decision.” Goode v. United States, 305 F.3d 378, 383
(6th Cir. 2002); see Schriro v. Summerlin, 124 S. Ct. 2519, 2522-26
(2004) (holding that decision in gigg_yg_g;iggna, which held that a
sentencing judge in a capital case may not find an aggravating factor
necessary for imposition of the death penalty, and that the Sixth
Amendment requires that those circumstances be found by a jury, does
not apply retroactively to cases on collateral review); I§_a_gge__y4

Lane, 489 U.S. 288 (1989). Applying these standards, the Sixth Circuit

 

1 Pursuant to § 2K2.1(a) of the United States Sentencing Guidelines
(“U.S.S.G.”), the base offense level was 26 where, as here, the defendant committed
the instant offense subsequent to sustaining at least two felony convictions of
either a crime of violence or a controlled. substance offense. There were no
adjustments to that level, so the base offense level was also the total offense
level. Given Smith's criminal history category of V, the guidelines called for a
sentencing range from 110-137 months. However, the statutory maximum penalty for a
violation of 18 U.S.C. § 922(g) is ten years, or 120 months. 18 U.S.C. § 924(a)(2).

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has held that Blakely and Booker issues cannot be raised in an initial
motion pursuant to 28 U.S.C. § 2255. Humohress v. United States, 398
F.3d 855, 860-63 (Gth Cir. 2005).2

The motion, together with the files and record in this case
“conclusively show that the prisoner is entitled to no relief.” 28
U.S.C. § 2255; see also Rule 4(b), Rules Governing Section 2255
Motions in the United States District Courts. Therefore, the Court
finds that a response is not required from the United States Attorney
and that the motion may be resolved without an evidentiary hearing.
United States v. Johnson, 327 U.S. 106, 111 (1946); Baker v. United
States, 781 F.2d 85, 92 (6th Cir. 1986). Defendant's conviction and
sentence are valid and, therefore, his motion is DENIED.

Consideration must also be given to issues that may occur
if the defendant files a notice of appeal. Twenty-eight U.S.C. §
2253(a) requires the district court to evaluate the appealability of
its decision denying a § 2255 motion and to issue a certificate of
appealability (“COA”) only if “the applicant has made a substantial
showing of the denial of a constitutional right.” 28 U.S.C. §
2253(€)(2); see also Fed. R. App. P. 22(b); Lyons v. Ohio Adult Parole
Ag;hg, 105 F.3d 1063, 1073 (6th Cir. 1997) (district judges may issue
certificates of appealability under the AEDPA). No § 2255 movant may

appeal without this certificate.

 

2 Moreover, Smith does not explain how his sentence is inconsistent with

Apprendi, Blakely, and Booker, and an examination of the presentence report does not
reveal any defect in Smith‘s sentence in light of these cases. The only argument
even potentially available to Smith is that the sentencing judge erred when she
assumed that the sentencing guidelines were mandatory. Even so, however, Judge
Gibbons did not sentence Smith to the minimum sentence under the guidelines and,
therefore, there is no basis for concluding that, if only the sentencing judge had
thought that the guidelines could not constitutionally be mandatory, it is likely
Smith would have received a lighter sentence.

 

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In Slack v. McDaniel, 529 U.S. 473, 483-84 (2000), the
Supreme Court stated that § 2253 is a codification of the standard
announced in Barefoot v. Estelle, 463 U.S. 880, 893 (1983), which
requires a showing that “reasonable jurists could debate whether (or,
for that matter, agree that) the petition should have been resolved
in a different manner or that the issues presented were “‘adequate to
deserve encouragement to proceed further.’” §lggk, 529 U.S. at 484

(quoting Barefoot, 463 U.S. at 893 & n.4).

The Supreme Court recently cautioned against undue
limitations on the issuance of certificates of appealability:

[O]ur opinion in Slack held that a COA does not require a
showing that the appeal will succeed. Accordingly, a court
of appeals should not decline the application of a COA
merely because it believes the applicant will not
demonstrate an entitlement to relief. The holding in Slack
would mean very little if appellate review were denied
because the prisoner did not convince a judge, or, for that
matter, three judges, that he or she would prevail. It is
consistent with § 2253 that a COA. will issue in some
instances where there is no certainty of ultimate relief.
After all, when a COA is sought, the whole premise is that
the prisoner “‘has already failed in that endeavor.’”

Miller»El v. Cockrell, 537 U.S. 322, 337 (2003) (quoting Barefoot, 463
U.S. at 893). Thus,

[a] prisoner seeking a COA must prove “‘something more than
the absence of frivolity'” or the existence of mere “good
faith” on his or her‘ part. . . . We do not require
petitioners to prove, before the issuance of a COA, that
some jurists would grant the petition for habeas corpus.
Indeed, a claim can be debatable even though every jurist
of reason might agree, after the COA has been granted and
the case has received full consideration, that petitioner
will not prevail.

Id. at 338 (quoting Barefoot, 463 U.S. at 893); see also id. at 342
(cautioning courts against conflating their analysis of the merits

with the decision of whether to issue a COA; “The question is the

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debatability of the underlying constitutional claim, not the
resolution of that debate.”).3

In this case, for the reasons previously stated, the
defendant's claims are plainly lacking in substantive merit and,
therefore, he cannot present a question of some substance about which
reasonable jurists could differ. The Court therefore DENIES a
certificate of appealability.

The Prison Litigation Reforn1Act of 1995 (“PLRA”), 28 U.S.C.
§ 1915(a)(3), does not apply to appeals of orders denying § 2255
motions. Hereford v. United States, 117 F.3d 949, 951 (6th Cir. 1997);
cf. McGore v. Wrigglesworth, 114 F.3d 601, 610 (6th Cir. 1997)
(instructing courts regarding' proper PLRA. procedures in. prisoner
civil-rights cases). Rather, to seek leave to appeal ig_fg;ma_pagp§;i§
in a § 2255 case, and thereby avoid the $255 filing fee required by
28 U.S.C. §§ 1913 and 1917,4 the prisoner must seek permission from
the district court under Rule 24(a) of the Federal Rules of Appellate
Procedure. Hereford, 117 F.3d at 952. If the motion is denied, the
prisoner may renew the motion in the appellate court.

Rule 24(a) states, in pertinent part that:

A party to an action in a district court who desires to
proceed. on appeal in forne. pauperis shall file in the

 

3 By the same token, the Supreme Court also emphasized that “[o]ur holding
should not be misconstrued as directing that a COA always must issue.” LQL at 337.
Instead, the COA requirement implements a system of “differential treatment of those
appeals deserving of attention from those that plainly do not.” ida

4 Effective November 1, 2003, the fee for docketing an appeal is $250. See
Judicial Conference Schedule of Fees, j 1, Note following 28 U.S.C. § 1913. Under
28 U.S.C. § 1917, a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or application
for appeal or upon the receipt of any order allowing, or notice of the
allowance of, an appeal or of a writ of certiorari $5 shall be paid to
the clerk of the district court, by the appellant or petitioner.

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district court a motion for leave to so proceed, together
with an affidavit, showing, in the detail prescribed by Form
4 of the Appendix of Forms, the party's inability to pay
fees and costs or to give security therefor, the party's
belief that that party is entitled to redress, and a
statement of the issues which that party intends to present
on appeal.

The Rule further requires the district court to certify in writing
whether the appeal is taken in good faith. For the same reasons the
Court denies a certificate of appealability, the Court determines
that any appeal in this case would not be taken in good faith. It is
therefore CERTIFIED, pursuant to Fed. R. App. P. 24(a), that any
appeal in this matter by this defendant is not taken in good faith,
and he may not proceed on appeal in forma pauperis.

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IT IS SO ORDERED this day Of AuguSt, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

     

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This notice confirms a copy of the document docketed as number 4 in
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